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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
TRIBUNE COMPANY, et al., Case No. 08-13141 (KIC)
Debtors. Jointly Administered
AFFIDAVIT OF SERVICE

I, Pauline Z. Ratkowiak, an employee of Cole, Schotz, Meisel, Forman & Leonard, P.A.,
hereby certify that on December 20, 2010, I caused a copy of the foregoing Notice of Service to
be served via U.S. first-class mail, postage prepaid, on the following counsel:

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Sworn to and subscribed before me this Wey of December, 2010

iki
Notary Publit

J, are STICKLES, Esquire (1.D. No, 2917)
orney at Law - State of Delaware |
29 notarial Officer Pursuant to
el. C, $4323 (a) (3) Notarial Act

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